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           MINUTE ORDER OF THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF CALIFORNIA


Case Name: 3D Systems, Inc. v. Wynne et al.            Case Number: 21cv1141-LAB-DEB

Hon. Larry Alan Burns                Ct. Deputy: T. Weisbeck                   Reporter: C. Ott

       Currently on calendar for Monday, October 4, 2021 at 11:30 a.m. is a hearing on
Defendant’s motion to dismiss. (Dkt. 10.) Pursuant to Civil Local Rule 7.1(d)(1), the Court finds
this motion suitable for decision without oral argument. Accordingly, the hearing on this motion
is taken off calendar and this matter is taken under submission. No appearances will be required
in this matter on October 4, 2021.


Date: September 29, 2021                                                           Initials: LC

cc: All Counsel
